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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA




 Alliance for Retired Americans, et al.

                    Plaintiffs,

                                    v.                       Case No. 1:25-cv-313-CKK

 Bessent, et. al.

                    Defendants.



        I, Thomas H. Krause, Jr., declare under penalty of perjury:

1. I am employed as the Senior Advisor for Technology and Modernization at the Department

    of the Treasury. I started serving in this role on January 23, 2025. In addition to serving as

    Senior Advisor for Technology and Modernization, on February 5, 2025, the Treasury

    Secretary delegated the performance of duties of the Fiscal Assistant Secretary to me.

2. I submitted a declaration in the above-captioned matter on Wednesday, February 13, 2025 in

    support of Defendants’ Opposition to Plaintiffs’ Preliminary Injunction. Dkt No. 24-1

    (“Krause Decl.”). I provide this declaration to inform the Court regarding a change in

    information regarding my employment at Treasury that has occurred since my Wednesday

    declaration was executed, and to correct an unrelated error that appeared in my Wednesday

    declaration.

3. My Wednesday declaration noted that I had been delegated the duties of the Fiscal Assistant

    Secretary, but that I had not yet assumed those duties. See Krause Decl. ¶ 1. As explained in

    the declaration of Michael Wenzler that also accompanied the Wednesday filing, Dkt. No 24-

    3 (“Wenzler Decl.”), this was because, at the time, my role as a consultant appointed under 5
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   U.S.C. § 3109 prohibited me from performing managerial or supervisory work, see Wenzler

   Decl. ¶ 7 (citing 5 C.F.R. §304.103(b)). As Mr. Wenzler noted, see id. ¶ 8, at the time my

   declaration was executed, I was in the process of being transferred to a Temporary

   Transitional Schedule C appointment, which would allow me to assume the duties delegated

   to me of Fiscal Assistant Secretary.

4. This morning, I was sworn into my new appointment as a Temporary Transitional Schedule

   C, and have assumed the duties of Fiscal Assistant Secretary delegated to me.

5. I have been informed by Treasury’s ethics office that, in this new position, I will retain my

   ethics designation as a Special Government Employee (SGE) under 18 U.S.C. § 202.

6. At all times since January 23, 2025, I have remained a Treasury employee.

7. Finally, in paragraph 16 of my Wednesday declaration, I erroneously referred to a February 8,

   2025 order “issued in this case” that restricted my access to certain BFS data and systems.

   That phrase was intended to refer to the February 8, 2025 order issued by Judge Vargas in a

   related matter in the Southern District of New York, see State of New York v. U.S. Dep’t of

   Treasury, No. 1:205-cv-1144-JAV (S.D.N.Y), Dkt. No. 6, as amended by, Dkt. No. 28 (Feb.

   11, 2025), not the order issued in this case. I apologize to the Court for the error.




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